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8                             UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
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11    Frankie Greer,                                     Case No.: 19cv378-JO-DEB
12                                      Plaintiff,
                                                         ORDER DENYING MOTIONS FOR
13    v.                                                 SUMMARY JUDGMENT,
                                                         OVERRULING OBJECTIONS TO
14    County of San Diego et al.,
                                                         MAGISTRATE JUDGE’S
15                                   Defendants.         DISCOVERY ORDER, AND
                                                         DENYING AS MOOT MOTION TO
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                                                         STRIKE
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20          Defendants Francisco Bravo, Michael Campos, Macy Germono, and Christopher
21    Simms filed motions for summary judgment. Dkts. 206, 207, 209, 210. Defendant County
22    of San Diego filed objections to Magistrate Judge Butcher’s discovery ruling. Dkt. 232.
23    Plaintiff Frankie Greer filed a partial motion for summary judgment as to his ADA and
24    Rehabilitation Act causes of action. Dkt. 218. Plaintiff also filed a motion to strike the
25    Declaration of Serina Rognlien-Hood. Dkt. 249.
26          The Court held oral argument on the motions on December 7, 2022. For the reasons
27    stated on the record during the oral argument, the Court denies Defendants Francisco
28    Bravo, Michael Campos, Macy Germono, and Christopher Simms’ motions for summary

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1     judgment [Dkts. 206, 207, 209, 210], overrules the County of San Diego’s objections to
2     Magistrate Judge Butcher’s discovery ruling [Dkt. 232], denies Plaintiff’s partial motion
3     for summary judgment [Dkt. 218], and denies Plaintiff’s motion to strike as moot [Dkt.
4     249].
5             IT IS SO ORDERED.
6     Dated: December 9, 2022
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